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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


THE DIAMOND SAWBLADES
MANUFACTURERS’ COALITION,

                            Plaintiff,
                                                               Before: Hon. Claire R. Kelly,
                      v.                                               Judge

UNITED STATES,
                                                               Ct. No. 17-00167
                            Defendant,

                      and

BOSUN TOOLS CO., LTD.,

                            Defendant-Intervenor.


           JOINT STATUS REPORT AND PROPOSED BRIEFING SCHEDULE

       Pursuant to the Court’s March 25, 2021 Order, counsel for the parties in the above-

captioned action have consulted and respectfully submit the following Joint Status Report and

Proposed Briefing Schedule.

I.     JOINT STATUS REPORT

       On March 25, 2021, the Court remanded this action to the U.S. Department of Commerce

(“Commerce”) in conformity with Diamond Sawblades Mfrs. Coal. v. United States, 986 F.3d

1351 (Fed. Cir. 2021). The parties have conferred regarding the remand proceedings, and have

agreed that Commerce should have 90 days from the filing of this joint status report to return

remand results. The parties have compiled a draft order for the Court reflecting this agreement.

The draft order is being filed concurrently with this joint status report.
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II.    PROPOSED BRIEFING SCHEDULE

       After consultation, the parties agree upon and respectfully propose the following briefing

schedule:

       July 13, 2021:        Commerce shall file its remand results.

       August 12, 2021:      Parties opposing any aspect of the remand results will file
                             comments in opposition.

       September 13, 2021: Parties supporting the remand results shall file comments
                           responding to the comments filed in opposition.

       September 27, 2021: The parties opposing the remand results shall file the joint
                           appendix.

       All parties agree to follow the word count limitations set forth in the Court’s Standard

Chambers Procedures for remand comments.




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       The parties have consented to this status report and briefing schedule. Counsel for

Defendant United States, John J. Todor, Esq., consented via e-mail on April 14, 2021. Counsel

for Defendant-Intervenor Bosun Tools Co., Ltd., Gregory S. Menegaz, Esq., consented via e-mail

on April 14, 2021.

                                                  Respectfully submitted,



                                                  /s/ Daniel B. Pickard
                                                  Daniel B. Pickard, Esq.
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                                                  Manufacturers’ Coalition
Date: April 14, 2021




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                                         /s/ Franklin E. White, Jr.
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Date: April 14, 2021



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Date: April 14, 2021




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